                   * UNITED STATES
           Case 1:19-cr-00201-LMB   DISTRICT
                                  Document 81 COURT    CRIMINAL
                                              Filed 07/23/19 PageMINUTES   *
                                                                 1 of 1 PageID# 517


Date:    07/23/19              Judge: Brinkema                  Reporter:     A. Thomson
Time:    9:59am   -     10:13am                                 Interpreter:
                                                                Language:
                                                                 Probation Email:
                                                                Jury Email:

UNITED STATES OF AMERICA
           v.

    GEORGE AREF NADER                                            1:19cr201
      Defendant’s Name                                           Case Number

   Jonathan Jeffress/Tim McCarten                       Jay Prabhu/Laura Fong
  Counsel for Defendant:                               Counsel for Government
Matter called for:
[ ] Arraignment       [ ] Pre-Indictment Plea [ ] Change of Plea [X] Motions
[ ] Sentencing        [ ] Revocation Hearing [ ] Docket Call         [ ] Appeal (USMC)
[ ] Other
Deft appeared: [X] in person [ ] failed to appear [X ] with Counsel [ ] without Counsel [ ] through Counsel
Filed in open court:
[ ] Information [ ] Plea Agreement [ ] Statement of Facts [ ] Waiver of Indictment [ ] Discovery Order

Arraignment & Plea:
[ ] WFA       [ ] FA     [ ] PG [ ] PNG Trial by Jury: [ ] Demanded              [ ] Waived
[ ] Days to file Motions with Argument on                          at
[ ] Deft entered Plea of Guilty as to Count(s)                      of the
[ ] Plea accepted, Guilty Count(s)
[ ] Motion for Dismissal of Count(s)                                       by [   ] US [    ] Deft
[ ] Order entered in open court              [   ] Order to follow
[ ] Deft directed to USPO for PSI--- [ ] Deft directed to cooperate with USPO for PSI
[ ] Case continued to:                  at            for:
[ ] Jury Trial    [ ] Bench Trial      [ ] Sentencing [ ] Status
Rule 35:
[ ] US Rule 35 motion for reduction of sentence: [ ] Granted [ ] Denied
Sentence of                      Months heretofore imposed is REDUCED to a term of

Probation/Supervised Release Revocation Hearing:
Defendant [ ] Admits [ ] Denies violations of the conditions of probation/supervised release
Court: [ ] finds [ ] does not find the defendant in violation of the conditions
[ ] Deft is committed to the custody of the BOP to serve a term of              months/days
 #57 Deft Motion to Revoke the Detention Order - argued and denied



Deft is: [X] In Custody [ ] Summons Issued      [   ] On Bond   [ ] Warrant Issued    [ ] 1st appearance

Bond Set at: $                       [ ] Unsecured [ ] Surety [ ] Personal Recognizance
[ ] Release Order Entered   [X] Deft Remanded [ ] Deft Released on Bond [ ] Deft Continued on Bond
